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IN RE: ARMSTRONG FLOORING, INC., et al.,
CASE NO. 22-10426 (MFW) ADV NO. 23-50107
HONG KONG EDSON TRADING LTD.


                                           CERTIFICATION OF SERVICE
                             STATE OF MINNESOTA, COUNTY OF DAKOTA
       I am a resident of the County aforesaid. I am over the age of 18 years and not a party to
the within entitled action. My business employment address is
                       2600 Eagan Woods Drive, Suite 400, St. Paul, Minnesota 55121
      On the date indicated immediately above my signature below, I served the foregoing
documents described as:
          1. PLAINTIFF'S REQUEST FOR ENTRY OF DEFAULT
          2. PLAINTIFF'S REQUEST FOR DEFAULT JUDGMENT
          3. DECLARATION OF JENNIFER A. HEPOLA
          4. PROPOSED ENTRY OF DEFAULT
          5. PROPOSED JUDGMENT BY DEFAULT
on the interested parties in this action by placing a true copy thereof enclosed in a sealed
envelope with postage thereon fully prepaid in the United States mail at St. Paul, Minnesota,
addressed as follows:
Defendant
Offficer, Managing or General Agent
Hong Kong Edson Trading Ltd.
Unit 1002, 10th Floor
Perfect Commercial Building
20 Austin Avenue
Tsim Sha Tsui
Kowloon
Hong Kong SAR, China

 X (By Regular Mail) I caused such envelope with first class postage thereon, fully prepaid to
be placed in the United States mail.
    (Federal) I declare that I am an employee in the offices of a member of the State Bar of this
Court at whose direction the service was made.
 I declare under penalty of perjury under the laws of the State of Minnesota and the laws of the
United States of America that the foregoing is true and correct.
Executed at St. Paul, Minnesota on March 26, 2024.
    /s/ Jennifer Hepola
Jennifer Hepola, Declarant
